        Case 2:21-cv-03459-MMB Document 18 Filed 10/19/21 Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANE DOE (a pseudonym)                       :
                                             :       CIVIL ACTION
                      Plaintiff              :
                                             :
               v.                            :       NO. 21-3459
                                             :
PENNSYLVANIA DEPARTMENT                      :
OF HUMAN SERVICES, et al.                    :
                                             :
                      Defendants             :
                                             :

                                            ORDER

       AND NOW, this _________ day of _____________________, 2021, upon consideration

of the Motion to Dismiss filed on behalf of Defendants the Delaware County Juvenile Detention

Center, the 32nd Judicial District, and Davon Robertson in his official capacity, and any response

thereto, it is hereby ORDERED that the Motion to Dismiss is GRANTED, and Plaintiff’s claims

against the Delaware County Juvenile Detention Center are hereby DISMISSED, with prejudice.




                                                            ______________________________
                                                                                         J.
           Case 2:21-cv-03459-MMB Document 18 Filed 10/19/21 Page 2 of 11




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANE DOE (a pseudonym)                        :
                                              :       CIVIL ACTION
                      Plaintiff               :
                                              :
               v.                             :       NO. 21-3459
                                              :
PENNSYLVANIA DEPARTMENT                       :
OF HUMAN SERVICES, et al.                     :
                                              :
                      Defendants              :
                                              :

        MOTION TO DISMISS FILED ON BEHALF OF THE DELAWARE COUNTY
       JUVENILE DETENTION CENTER, THE 32ND JUDICIAL DISTRICT OF
     PENNSYLVANIA, AND DAVON ROBERTSON IN HIS OFFICIAL CAPACITY
       NOW COME THE DEFENDANTS, the Delaware County Juvenile Detention Center

(hereinafter the “Detention Center”), the Court of Common Pleas 32nd Judicial District of

Pennsylvania (hereinafter the “32nd Judicial District”), and Davon Robertson (incorrectly

identified as “Devon Robertson”) in his official capacity, by and through their undersigned

counsel, and submit this Motion to Dismiss Plaintiff’s Complaint, averring in support thereof as

follows:

       1.      Plaintiff, proceeding anonymously as Jane Doe, is a former resident of the

Delaware County Juvenile Detention Center. While Jane Doe was a resident at the Detention

Center, she alleges she was subjected to various forms of physical, mental, and sexual abuse at

the hands of Detention Center staff, including sexual abuse committed by Defendant Robertson

both while she was a resident at the Detention Center and after her release.

       2.      As a result of the injuries she allegedly sustained, Plaintiff has levied multiple

claims against the Detention Center, the 32nd Judicial District, and Defendant Robertson,
         Case 2:21-cv-03459-MMB Document 18 Filed 10/19/21 Page 3 of 11




including state law claims for negligence, negligent infliction of emotional distress, intentional

infliction of emotional distress, negligent failure to rescue, failure to warn, and negligence per se,

plus federal claims under 42 U.S.C. § 1983.

        3.      The Complaint states that the Detention Center is “owned, controlled, and

operated by Defendant, Delaware County, Pennsylvania,” but is nevertheless "governed by the

Board of Judges” and overseen by Delaware County and the 32nd Judicial District. (Complaint,

¶¶ 8-11).

        4.      The Detention Center was at all times relevant a Court facility, part of the 32nd

Judicial District.

        5.      The 32nd Judicial District is part of the Commonwealth’s Unified Judicial System.

        6.      As set forth more fully in the accompanying Brief, the Eleventh Amendment bars

Plaintiff’s claims against the Detention Center, the 32nd Judicial District, and Davon Robertson

in his official capacity.

        7.      Further, the Detention Center, the 32nd Judicial District, and Davon Robertson in

his official capacity are not "persons" subject to liability under 42 U.S.C. § 1983.

        8.      Sovereign immunity bars Plaintiff’s claims against the Detention Center, the 32nd

Judicial District, and Davon Robertson in his official capacity.

        9.      Given the nature of the aforementioned defenses, leave to amend would be futile.

        WHEREFORE, Defendants, the Delaware County Juvenile Detention Center, the 32nd

Judicial District, and Davon Robertson in his official capacity, respectfully request that this

Court enter an Order in the form attached hereto, dismissing Plaintiff’s claims against them, with

prejudice.
Case 2:21-cv-03459-MMB Document 18 Filed 10/19/21 Page 4 of 11




                            Respectfully submitted,

                            /S/Megan L. Davis
                            MEGAN L. DAVIS, ESQUIRE
                            Attorney I.D. PA 321341
                            GERI ROMANELLO ST. JOSEPH
                            Attorney I.D. PA 84902
                            Supreme Court of Pennsylvania
                            Administrative Office of PA Courts
                            1515 Market Street, Suite 1414
                            Philadelphia, PA 19102
                            legaldepartment@pacourts.us
                            (215) 560-6326, Fax: (215) 560-5486
        Case 2:21-cv-03459-MMB Document 18 Filed 10/19/21 Page 5 of 11




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANE DOE (a pseudonym)                       :
                                             :      CIVIL ACTION
                      Plaintiff              :
                                             :
               v.                            :      NO. 21-3459
                                             :
PENNSYLVANIA DEPARTMENT                      :
OF HUMAN SERVICES, et al.                    :
                                             :
                      Defendants             :
                                             :

      BRIEF IN SUPPORT OF THE MOTION TO DISMISS FILED ON BEHALF OF
THE DELAWARE COUNTY JUVENILE DETENTION CENTER, THE 32ND JUDICIAL
  DISTRICT OF PENNSYLVANIA, AND DAVON ROBERTSON IN HIS OFFICIAL
                             CAPACITY


       NOW COME THE DEFENDANTS, the Delaware County Juvenile Detention Center

(hereinafter the “Detention Center”), the Court of Common Pleas 32nd Judicial District of

Pennsylvania (hereinafter the “32nd Judicial District”), and Davon Robertson (incorrectly

identified as “Devon Robertson”) in his official capacity, by and through their undersigned

counsel, and submit this Brief in Support of their Motion to Dismiss Plaintiff’s Complaint,

averring in support thereof as follows:

I)     FACTUAL BACKGROUND

       Plaintiff, proceeding anonymously as Jane Doe, is a former resident of the Delaware

County Juvenile Detention Center. (Complaint, ¶ 7). While Jane Doe was a resident at the

Detention Center, she alleges she was subjected to various forms of physical, mental, and sexual

abuse at the hands of Detention Center staff, including sexual abuse committed by Defendant

Robertson both while she was a resident at the Detention Center and after her release.
         Case 2:21-cv-03459-MMB Document 18 Filed 10/19/21 Page 6 of 11




(Complaint, ¶¶ 82-105). As a result of the injuries she allegedly sustained, Plaintiff has levied

multiple claims against the Detention Center, the 32nd Judicial District, and Defendant

Robertson, including state law claims for negligence, negligent infliction of emotional distress,

intentional infliction of emotional distress, negligent failure to rescue, failure to warn, and

negligence per se, plus federal claims under 42 U.S.C. § 1983.

       As it pertains to the claims against the Detention Center, the Complaint states that the

Detention Center is “owned, controlled, and operated by Defendant, Delaware County,

Pennsylvania,” but is nevertheless "governed by the Board of Judges” and overseen by Delaware

County and the 32nd Judicial District. (Complaint, ¶¶ 8-11). The Detention Center was at all

times relevant a Court facility, part of the 32nd Judicial District. See id.; see also Complaint at ¶

106 (noting that the President Judge of the Delaware County Court of Common Pleas was

responsible for the closure of the Detention Center).

       For the reasons set forth below, Plaintiff’s claims against the Detention Center, the 32nd

Judicial District, and Davon Robertson in his official capacity must be dismissed.

II)    QUESTIONS PRESENTED

       (1)     Does the Eleventh Amendment bar Plaintiff’s claims against the Detention

Center, the 32nd Judicial District, and Davon Robertson in his official capacity?

       Suggested Answer: Yes.

       (2)     Are Plaintiff’s claims barred because the Detention Center, the 32nd Judicial

District, and Davon Robertson in his official capacity are not "persons" subject to liability under

42 U.S.C. § 1983?

       Suggested Answer: Yes.
        Case 2:21-cv-03459-MMB Document 18 Filed 10/19/21 Page 7 of 11




       (3)     Does sovereign immunity bar Plaintiff’s claims against the Detention Center, the

32nd Judicial District, and Davon Robertson in his official capacity?

       Suggested Answer: Yes.

III)   ARGUMENT

       A)      The Eleventh Amendment Bars Plaintiff’s Claims Against the Detention
               Center, the 32nd Judicial District, and Davon Robertson in his Official
               Capacity

       As set forth above, the Detention Center is part of the 32nd Judicial District. (Complaint,

¶¶ 11, 106). States and state entities are entitled to immunity under the Eleventh Amendment

unless they waive that immunity, which Pennsylvania has not. See Laskaris v. Thornburgh, 661

F.2d 23, 25 (3d Cir. 1981). 1 Pa.C.S. § 2310 provides that "the Commonwealth and its officials

and employees acting within the scope of their duties, shall continue to enjoy sovereign and

official immunity and remain immune from suit except as the General Assembly shall

specifically waive this immunity." See also 42 Pa.C.S. § 8521. The term “Commonwealth

government” includes "the courts and other officers or agencies of the unified judicial system."

42 Pa.C.S. § 102.

       The Eleventh Amendment is a jurisdictional bar that deprives a federal court of subject

matter jurisdiction. Blanciak v. Allegheny Ludlum Corp., 77 F.3d 690, 694 n.2 (3d Cir. 1996).

Claims brought under the civil rights enabling statute, 42 U.S.C. § 1983, are subject to the

Eleventh Amendment. See Chilcott v. Erie Co. Domestic Relations, 283 Fed. Appx. 8, 10 (3d

Cir. 2008); Collins v. Sload, 212 Fed. Appx. 136, 140 n.5 (3d Cir. 2007).

       The 32nd Judicial District is an arm of the state. Callahan v. City of Philadelphia, et al.,

207 F.3d 668, 672 (3d Cir. 2000) (holding that all courts and agencies of the Unified Judicial

System are part of the Commonwealth government and are state agencies); Benn v. First Judicial
         Case 2:21-cv-03459-MMB Document 18 Filed 10/19/21 Page 8 of 11




District, 426 F.3d 233 (3d Cir. 2005) (holding that Pennsylvania’s Court entities are

Commonwealth entities entitled to federal Eleventh Amendment immunity). Therefore, since

Pennsylvania has not consented to suit, Plaintiff clearly cannot maintain an action against the

32nd Judicial District, nor can it maintain an action against the Detention Center, since it is a part

of the 32nd Judicial District. Further, a suit against a state official in his official capacity is

deemed a suit against the state itself. Kentucky v. Graham, 473 U.S. 159, 166 (1985). When a

state official is sued in an official capacity, the real party in interest is the government entity of

which the official is an agent. Hafer v. Melo, 502 U.S. 21, 26 (1991). As a result, any official

capacity claims against Davon Robertson are, in reality, claims against the 32nd Judicial District,

and are similarly subject to dismissal pursuant to the Eleventh Amendment.

        B)      The Detention Center, the 32nd Judicial District, and Davon Robertson in his
                Official Capacity are not "Persons" Subject to Liability Under 42 U.S.C. §
                1983

        As set forth above, Plaintiff’s claims against the Detention Center, the 32nd Judicial

District, and Davon Robertson in his official capacity arise under 42 U.S.C. § 1983. Section 1983

does not itself create substantive rights, but instead provides a vehicle for vindicating violations

of federal rights. Groman v. Township of Manalapan, 47 F.3d 628, 633 (3d Cir. 1995). A

plaintiff bringing a cause of action under Section 1983 must demonstrate that a person acting

under color of law deprived him or her of a federal right. Groman, 47 F.3d at 633.


        As discussed above, the Detention Center is an arm of the 32nd Judicial District, which is

part of the Unified Judicial System of Pennsylvania, and both therefore constitute state entities.

State entities are not "persons" under § 1983 and cannot be sued under that statute. See Callahan,

207 F.3d 668 (Warrant Division and Eviction Unit of the Court of Common Pleas and the

Municipal Court Eviction Unit of the First Judicial District are state government entities which
        Case 2:21-cv-03459-MMB Document 18 Filed 10/19/21 Page 9 of 11




do not constitute "persons" under 42 U.S.C. § 1983). This applies in equal force to the official

capacity claims against Davon Robertson, since such claims are in fact claims against the 32nd

Judicial District itself. Will v. Michigan Department of State Police, 491 U.S. 58, 63 (1989).

Accordingly, Plaintiff’s claims against the Detention Center, the 32nd Judicial District, and

Davon Robertson in his official capacity must be dismissed because they are not “persons”

within the meaning of Section 1983.


       C)      Sovereign Immunity Bars Plaintiff’s Claims Against the Detention Center,
               the 32nd Judicial District, and Davon Robertson in his Official Capacity

       In addition to Eleventh Amendment immunity, under Pennsylvania law, entities, officers

and employees of the Commonwealth government are entitled to sovereign and official

immunity from lawsuits, such as the one before this Court, pursuant to the Sovereign Immunity

Act, 42 Pa. C.S. § 8521 et seq.; see also 1 Pa. C.S. § 2310 ("Pursuant to section 11 of Article I of

the Constitution of Pennsylvania, it is hereby declared to be the intent of the General Assembly

that the Commonwealth, and its officials and employees acting within the scope of their duties,

shall continue to enjoy sovereign immunity and official immunity and remain immune from suit

except as the General Assembly shall specifically waive the immunity").

       The Commonwealth has not validly waived sovereign immunity for any of Plaintiff’s

claims. In this regard, although the state legislature has waived sovereign immunity in a limited

number of circumstances,1 this statutory waiver does not apply to the Unified Judicial System.



1
 Even if this waiver did apply to the Unified Judicial System, this case still would not fall under
any of the enumerated circumstances in which immunity has been waived. In this regard, 42
Pa.C.S. § 8522 sets forth the nine (9) circumstances under which the Commonwealth has waived
immunity: (1) vehicle liability; (2) medical-professional liability; (3) care, custody, or control of
personal property; (4) Commonwealth real estate, highways and sidewalks; (5) potholes and
other dangerous conditions; (6) care, custody, and control of animals; (7) liquor store sales; (8)
        Case 2:21-cv-03459-MMB Document 18 Filed 10/19/21 Page 10 of 11




Russo v. Allegheny County, 125 A.3d 113, 118 (Pa. Commw. 2015) ("Because sovereign

immunity has not been waived with respect to the courts of the unified judicial system, we must

conclude that the courts of the unified judicial system retain their sovereign immunity as related

to tort claims."), aff'd, 150 A.3d 16 (Pa. 2016). As a result, the Courts of the Unified Judicial

System, including the 32nd Judicial District, retain sovereign immunity without exception. Id.

Since the 32nd Judicial District, the Detention Center, and Davon Robertson in his official

capacity are all Commonwealth entities, they are entitled to immunity from Plaintiff’s claims.

IV)    CONCLUSION

       Based on the foregoing arguments and authorities, Defendants, the Delaware County

Juvenile Detention Center, the 32nd Judicial District, and Davon Robertson in his official

capacity, respectfully request that this Court enter an Order in the form attached hereto,

dismissing Plaintiff’s claims against them, with prejudice.

                                               Respectfully submitted,

                                               /S/Megan L. Davis
                                               MEGAN L. DAVIS, ESQUIRE
                                               Attorney I.D. PA 321341
                                               GERI ROMANELLO ST. JOSEPH
                                               Attorney I.D. PA 84902
                                               Supreme Court of Pennsylvania
                                               Administrative Office of PA Courts
                                               1515 Market Street, Suite 1414
                                               Philadelphia, PA 19102
                                               legaldepartment@pacourts.us
                                               (215) 560-6326, Fax: (215) 560-5486

                                               Counsel for Defendants, The Delaware County
                                               Juvenile Detention Center, The 32nd Judicial
                                               District of Pennsylvania and Davon Robertson in
                                               his official capacity


National Guard activities; and (9) toxoids and vaccines. Since none of these circumstances are
applicable to the instant case, immunity would nevertheless apply.
        Case 2:21-cv-03459-MMB Document 18 Filed 10/19/21 Page 11 of 11




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANE DOE (a pseudonym)                          :
                                                :       CIVIL ACTION
                        Plaintiff               :
                                                :
                v.                              :       NO. 21-3459
                                                :
PENNSYLVANIA DEPARTMENT                         :
OF HUMAN SERVICES, et al.                       :
                                                :
                        Defendants              :
                                                :

                                    CERTIFICATE OF SERVICE

        The undersigned certifies that on October 19, 2021, she caused the foregoing Motion to


Dismiss and Brief in Support of the Motion to be served via CM/ECF to all counsel of record.


                                                Respectfully submitted,

                                                /S/Megan L. Davis
                                                MEGAN L. DAVIS, ESQUIRE
                                                Attorney I.D. PA 321341
                                                GERI ROMANELLO ST. JOSEPH
                                                Attorney I.D. PA 84902
                                                Supreme Court of Pennsylvania
                                                Administrative Office of PA Courts
                                                1515 Market Street, Suite 1414
                                                Philadelphia, PA 19102
                                                legaldepartment@pacourts.us
                                                (215) 560-6326, Fax: (215) 560-5486

                                                Counsel for Defendants, The Delaware County
                                                Juvenile Detention Center, The 32nd Judicial
                                                District of Pennsylvania and Davon Robertson in
                                                his official capacity



\
